                Case 3:05-cr-05823-RJB     Document 123        Filed 07/13/06     Page 1 of 1



 1                                                             HONORABLE RONALD B. LEIGHTON
 2
 3
 4
 5
 6
 7
 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                       Case No. CR05-5823 RBL
                             Plaintiff,
12                     v.
13                                                       ORDER ALLOWING WITHDRAWAL
       THOMAS DUNIGAN,                                   OF ATTORNEY
14                           Defendant.
15
16          Defendant Thomas Dunigan, having filed a motion to withdraw and substitute counsel, and the

17   Court having considered the motion, now therefore

18          IT IS HEREBY ORDERED that Mary Kay High is permitted to withdraw as counsel for Mr.

19   Dunigan. The CJA Administrator is directed to appoint new counsel for the defendant.

20          DATED this 12th day of July, 2006.

21


                                          A
22
23
                                          RONALD B. LEIGHTON
24                                        UNITED STATES DISTRICT JUDGE

25
26
27
28


     ORDER
     Page - 1
